      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 1 of 45




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA
                                 EASTERN DIVISION

 NATIONWIDE AGRIBUSINESS        )
 INSURANCE COMPANY,             ) CIVIL ACTION NO. 20-2890
                                )
 Plaintiff,                     )
                                ) JUDGE
 v.                             )
                                )
 SMITTY’S SUPPLY, INC, and      ) MAGISTRATE
 TRACTOR SUPPLY COMPANY,        )
                                )
 Defendants.                    )
                                )
              COMPLAINT FOR DECLARATORY JUDGMENT

       NOW COMES, Plaintiff NATIONWIDE AGRIBUSINESS INSURANCE COMPANY,

by and through its attorneys, Jay Sever of Phelps Dunbar, LLC, for its Complaint for Declaratory

Judgment, states as follows:

                                         INTRODUCTION

       1.      This is a declaratory judgment action brought pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. §2201, wherein, Nationwide Agribusiness Insurance Company

(“Nationwide”) seeks a determination as to what portion, if any, is it required to indemnify

Smitty’s Supply, Inc. (“Smitty’s”) and/or Tractor Supply Company (“Tractor Supply”) for the

settlement in the lawsuit entitled: Shawn Hornbeck et. al. v. Tractor Supply Company et. al., No.

4:18-cv-00523, filed in the U.S. District For the Western District of Missouri Western Division

(“Hornbeck Action”).

       2.      An actual controversy exists wherein Smitty’s and Tractor Supply assert

Nationwide owes an obligation to fund a settlement involving claims for its sale of its tractor

hydraulic fluid that failed to meet its touted specification.
        Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 2 of 45




                                            PARTIES

        3.      Plaintiff Nationwide is an Iowa corporation with its principal place of business in

Iowa.

        4.      Defendant Smitty’s is a Louisiana corporation, with its principal place of business

in Louisiana.

        5.      Defendant Tractor Supply is a Delaware corporation, with its principal place of

business in Tennessee.

                                 JURISDICTION AND VENUE

        6.      A real and justiciable controversy exists between Nationwide, Smitty’s and Tractor

Supply concerning Nationwide’s respective rights and obligations under the Nationwide Policies.

        7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 because

Plaintiff and Defendants are citizens of different states and the amount in controversy exceeds

$75,000 exclusive of interest and costs.

        8.      This Court has jurisdiction over the Defendants in this matter as Smitty’s maintains

its principal place of business in Louisiana and Tractor Supply operates retail stores in Louisiana.

        9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                  FACTUAL BACKGROUND

I.      HORNBECK COMPLAINT

        10.     On May 25, 2018, Underlying Plaintiffs Shawn Hornbeck and Monte Burgess filed

a lawsuit naming Tractor Supply and Smitty’s as Defendants. See May 25, 2018 Complaint

attached hereto as Exhibit A.




                                                 2
       Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 3 of 45




        11.     On December 28, 2019, a first amended class action complaint (“FAC”) was filed,

which added Dan Chevalier and Russ Mapes as Underlying Plaintiffs and Family Center of

Harrisonville, Inc. as a defendant. See FAC attached hereto as Exhibit B.

        12.     The FAC alleged that “[f]or years, Defendants, as well as other lubricant

manufacturers and sellers, have deceptively and misleadingly labeled, marketed and sold tractor

hydraulic fluid as ‘303’ fluid meeting ‘303’ specifications when, in fact, the ‘303’ designation is

obsolete and 303 specifications have not been available for over forty (40) years.” Exhibit B, ¶ 1.

        13.     The FAC alleged that “Defendants falsely and deceptively labeled, marketed and

offered for sale the Super S Super Tract 303 Tractor Hydraulic Fluid (1) as meeting manufacturer

specifications and being acceptable for use as hydraulic fluid, transmission fluid, and gear oil in

older tractors and other equipment; (2) as a substitute for and satisfying John Deere’s JD-303

specifications; (3) as a fluid that provides extreme pressure and anti-wear protection for tractor

transmission, axles and hydraulic pumps; [and] (4) as a fluid that protects against rust and corrosion

. . .” Exhibit B, ¶ 30.

        14.     The FAC alleged that the Defendants knew or should have known the

representations regarding the 303 THF Product were false, deceptive and misleading to consumers

seeking to purchase tractor hydraulic fluid. Exhibit B, ¶38.

        15.     The FAC alleged that in the summer of 2017, the Missouri Department of

Agriculture (“MDA”) tested the Defendants’ 303 THF Product and concluded that the Defendants’

product failed to meet any current specifications and were found to be underperforming to the

point that damage was likely to result from use. Exhibit B, ¶¶ 46-48.

        16.     The FAC alleged that on October 12, 2017, the MDA issued a letter to Smitty’s and

Tractor Supply with regard to Super S Super Trac 303 THF in which they were ordered to remove




                                                  3
         Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 4 of 45




the product from sale until changes are made to correct the labeling or the product. Exhibit B, ¶¶

52-55.

         17.   Through the FAC, the Underlying Plaintiffs sought to have the following Class

certified:

               All persons and other entities who purchased Super S Super Tract 303
               Tractor Hydraulic Fluid in Missouri, at any point in time from May 25, 2013
               to present, excluding any persons and/or entities who purchased for resale.

Exhibit B, ¶ 79.

         18.   The FAC asserted the following causes of action against the Defendants:
               Count I - Violation of Missouri Merchandising Practices Act Violations
               (“MMPA”);
               Count II - Breach of Express Warranty;
               Count III - Breach of Implied Warranty of Merchantability;
               Count IV - Fraudulent Misrepresentation;
               Count V - Negligent Misrepresentation;
               Count VI - Unjust Enrichment;
               Count VII - Negligence;
               Count VIII - Breach of Implied Warranty of Fitness for Particular Purpose.

         19.   The FAC alleged that the Underlying “Plaintiffs and Class Members: (a) paid a sum

of money for a product that was not as represented; (b) received a lesser product than labeled,

advertised and marketed; (c) were deprived of the benefit of the bargain because the 303 THF

Product was different than what Defendants represented; (d) were deprived of the benefit of the

bargain because the 303 THF Product had less value than what was represented; (e) did not receive

a product that measured up to their expectations as created by Defendants; and (f) suffered damage

to their equipment, including but not limited to excessive wear, leakage in the seals, exposure to

spiral gear damage, improper and poor shifting, wear and damage to the wet brakes, high pump

leakage, and damage from deposits, sludging and thickening.” Exhibit B, ¶72.




                                                4
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 5 of 45




II.    NATIONWIDE PRIMARY POLICIES

       20.    Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2014 to April 30, 2015, which is subject to a $1,000,000

Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“14-15 NW Primary Policy”). A true and correct copy of the 14-15 NW

Primary Policy with premium information redacted is attached as Exhibit C.

       21.    Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2015 to April 30, 2016, which is subject to a $1,000,000

Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“15-16 NW Primary Policy”). A true and correct copy of the 15-16 NW

Primary Policy with premium information redacted is attached as Exhibit D.

       22.    Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2016 to April 30, 2017, which is subject to a $1,000,000

Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“16-17 NW Primary Policy”). A true and correct copy of the 16-17 NW

Primary Policy with premium information redacted is attached as Exhibit E.

       23.    Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2017 to April 30, 2018, which is subject to a $1,000,000

Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“17-18 NW Primary Policy”). A true and correct copy of the 17-18 NW

Primary Policy with premium information redacted is attached as Exhibit F.

       24.    Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2018 to April 30, 2019, which is subject to a $1,000,000




                                               5
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 6 of 45




Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“18-19 NW Primary Policy”). A true and correct copy of the 18-19 NW

Primary Policy with premium information redacted is attached as Exhibit G.

       25.        Nationwide issued a commercial general liability policy to Smitty’s, bearing policy

number CPP126853A, effective April 30, 2019 to April 30, 2020, which is subject to a $1,000,000

Each Occurrence limit, a $2,000,000 Products/Completed Operations Aggregate, and a $2,000,000

General Aggregate (“19-20 NW Primary Policy”). A true and correct copy of the 19-20 NW

Primary Policy with premium information redacted is attached as Exhibit H. The 14-20 NW

Primary Policies are collectively referred to herein as “NW Primary Policies.”

       26.        Subject to all their terms, conditions, limitations, definitions, endorsements and

exclusions, the NW Primary Policies provide “bodily injury” liability coverage, “property

damage” liability coverage, and “personal injury” or “advertising injury” liability coverage.

       27.        Upon information and belief, the parties hereto do not dispute that Nationwide owes

no obligation to Smitty’s and Tractor Supply under the “bodily injury” and “personal and

advertising injury” coverages of the NW Primary Policies.

       28.        The “property damage” liability coverage of the NW Primary Policies provides, in

part, as follows:

       SECTION I – COVERAGES

       COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY

       1. Insuring Agreement

             a.   We will pay those sums that the insured becomes legally obligated to pay
                  as damages because of “bodily injury” or “property damage” to which this
                  insurance applies. We will have the right and duty to defend the insured
                  against any “suit” seeking those damages . . .

                                                 ***


                                                   6
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 7 of 45




29.   The NW Primary Policies further provide:
      b. This insurance applies to “bodily injury” and “property damage” only
         if:
         (1) The “bodily injury” or “property damage” is caused by an
             “occurrence” that takes place in the “coverage territory”;
         (2) The “bodily injury” or “property damage” occurs during the policy
             period.
         (3) Prior to the policy period, no insured listed under Paragraph 1. of
             Section II ---- Who Is An Insured and no "employee" authorized by
             you to give or receive notice of an "occurrence" or claim, knew that
             the "bodily injury" or "property damage" had occurred, in whole or
             in part. If such a listed insured or authorized "employee" knew, prior
             to the policy period, that the "bodily injury" or "property damage"
             occurred, then any continuation, change or resumption of such
             "bodily injury" or "property damage" during or after the policy
             period will be deemed to have been known prior to the policy period.

      c. "Bodily injury" or "property damage" which occurs during the policy
         period and was not, prior to the policy period, known to have occurred
         by any insured listed under Paragraph 1. of Section II ---- Who Is An
         Insured or any "employee" authorized by you to give or receive notice
         of an "occurrence" or claim, includes any continuation, change or
         resumption of that "bodily injury" or "property damage" after the end of
         the policy period.

      d. "Bodily injury" or "property damage" will be deemed to have been known
          to have occurred at the earliest time when any insured listed under
          Paragraph 1. of Section II ---- Who Is An Insured or any "employee"
          authorized by you to give or receive notice of an "occurrence" or claim:

             (1) Reports all, or any part, of the "bodily injury" or "property
                 damage" to us or any other insurer;
             (2) Receives a written or verbal demand or claim for damages
                 because of the "bodily injury" or "property damage"; or
             (3) Becomes aware by any other means that "bodily injury" or
                 "property damage" has occurred or has begun to occur.

                                      ***

      SECTION III --- - LIMITS OF INSURANCE

      1. The Limits of Insurance shown in the Declarations and the rules below
         fix the most we will pay regardless of the number of:
         a. Insureds;
         b. Claims made or "suits" brought; or
         c. Persons or organizations making claims or bringing "suits".


                                        7
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 8 of 45




         2. The General Aggregate Limit is the most we will pay for the sum of:
            a. Medical expenses under Coverage C;
            b. Damages under Coverage A, except damages because of "bodily
                injury" or "property damage" included in the "products-completed
                operations hazard"; and
            c. Damages under Coverage B.
         3. The Products-Completed Operations Aggregate Limit is the most we
            will pay under Coverage A for damages because of "bodily injury" and
            "property damage" included in the "products-completed operations
            hazard".
                                        ***
         5. Subject to Paragraph 2. or 3. above, whichever applies, the Each
            Occurrence Limit is the most we will pay for the sum of:
            a. Damages under Coverage A; and
            b. Medical expenses under Coverage C because of all "bodily injury"
                and "property damage" arising out of any one "occurrence".

                                       ***
30.      The NW Primary Policies are, in part, subject to the following definitions:

      SECTION V – DEFINITIONS

      8. "Impaired property" means tangible property, other than "your product" or
          "your work", that cannot be used or is less useful because:
          a. It incorporates "your product" or "your work" that is known or thought
             to be defective, deficient, inadequate or dangerous; or
          b. You have failed to fulfill the terms of a contract or agreement;

         if such property can be restored to use by the repair, replacement,
         adjustment or removal of "your product" or "your work" or your fulfilling
         the terms of the contract or agreement.

      9. "Insured contract" means:
                                       ***
        f. That part of any other contract or agreement pertaining to your business
            (including an indemnification of a municipality in connection with work
            performed for a municipality) under which you assume the tort liability
            of another party to pay for "bodily injury" or "property damage" to a
            third person or organization. Tort liability means a liability that would
            be imposed by law in the absence of any contract or agreement.
                                       ***
    13. "Occurrence" means an accident, including continuous or repeated exposure
        to substantially the same general harmful conditions.
                                       ***
   16. "Products-completed operations hazard":


                                          8
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 9 of 45




               a. Includes all "bodily injury" and "property damage" occurring away from
                   premises you own or rent and arising out of "your product" or "your
                   work" except:
                   (1) Products that are still in your physical possession; or
                                                  ***
           17. "Property damage" means:
               a. Physical injury to tangible property, including all resulting loss of use
                   of that property. All such loss of use shall be deemed to occur at the
                   time of the physical injury that caused it; or
               b. Loss of use of tangible property that is not physically injured. All such
                   loss of use shall be deemed to occur at the time of the "occurrence" that
                   caused it.
                                                  ***
           21. "Your product":
                 a. Means:
                   (1) Any goods or products, other than real property, manufactured, sold,
                        handled, distributed or disposed of by:
                        (a) You;
                        (b) Others trading under your name; or
                        (c) A person or organization whose business or assets you have
                            acquired; and
                   (2) Containers (other than vehicles), materials, parts or equipment
                        furnished in connection with such goods or products.
                 b. Includes:
                     (1) Warranties or representations made at any time with respect to the
                     fitness, quality, durability, performance or use of "your product"; and
                     (2) The providing of or failure to provide warnings or instructions.
                 c. Does not include vending machines or other property rented to or
                 located for the use of others but not sold.
                                                  ***
       31.     Tractor Supply is not listed as a Named Insured on the NW Primary Policies.

       32.     The NW Primary Policies are subject to a “Who Is An Insured” provision that

provides, in part, as follows:

               SECTION II ---- WHO IS AN INSURED

               1. If you are designated in the Declarations as:

                                               ***


                                                 9
     Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 10 of 45




              c. A limited liability company, you are an insured. Your members are also
                 insureds, but only with respect to the conduct of your business. Your
                 managers are insureds, but only with respect to their duties as your
                 managers.
              d. An organization other than a partnership, joint venture or limited
                 liability company, you are an insured. Your "executive officers" and
                 directors are insureds, but only with respect to their duties as your
                 officers or directors. Your stockholders are also insureds, but only with
                 respect to their liability as stockholders.
                                                ***

       33.    Effective June 10, 2016, the 16-17 NW Primary Policy contains an endorsement

entitled “Additional Insured-Vendors” (CG 20 15 04 13) (“AI-Vendors Endorsement”).

       34.    The 17-20 NW Primary Policies are also subject to the AI-Vendors Endorsement.

       35.    The AI-Vendors Endorsement provides, in part, as follows:

                                            ***
       This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                           SCHEDULE
         Name of Additional Insured Your Products
         Person(s)       Or     Organization(s)
         (Vendor)
          Any person(s) or organization(s) with ALL PRODUCTS
           whom "you" have agreed in a valid
          written contract or written agreement,
             executed prior to loss, that such
          person(s) or organization(s) be added
           as an additional insured on "your"
              policy, as provided under this
                       endorsement.

         Information required to complete this Schedule, if not shown above, will be
         shown in the Declarations.

       A. Section II ---- Who Is An Insured is amended to include as an additional insured
           any person(s) or organization(s) (referred to throughout this endorsement as
           vendor) shown in the Schedule, but only with respect to "bodily injury" or
           "property damage" arising out of "your products" shown in the Schedule which
           are distributed or sold in the regular course of the vendor’s business.


                                               10
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 11 of 45




 However:

    1. The insurance afforded to such vendor only applies to the extent permitted
       by law; and
    2. If coverage provided to the vendor is required by a contract or agreement,
       the insurance afforded to such vendor will not be broader than that which
       you are required by the contract or agreement to provide for such vendor.

 B. With respect to the insurance afforded to these vendors, the following additional
    exclusions apply:

   1. The insurance afforded the vendor does not apply to:
     a. "Bodily injury" or "property damage" for which the vendor is obligated to
        pay damages by reason of the assumption of liability in a contract or
        agreement. This exclusion does not apply to liability for damages that the
        vendor would have in the absence of the contract or agreement;
     b. Any express warranty unauthorized by you;
     c. Any physical or chemical change in the product made intentionally by the
        vendor;
     d. Repackaging, except when unpacked solely for the purpose of inspection,
        demonstration, testing, or the substitution of parts under instructions from
        the manufacturer, and then repackaged in the original container;
     e. Any failure to make such inspections, adjustments, tests or servicing as
        the vendor has agreed to make or normally undertakes to make in the usual
        course of business, in connection with the distribution or sale of the
        products;
     f. Demonstration, installation, servicing or repair operations, except such
        operations performed at the vendor’s premises in connection with the sale
        of the product;
                                      ***
     h. "Bodily injury" or "property damage" arising out of the sole negligence
        of the vendor for its own acts or omissions or those of its employees or
        anyone else acting on its behalf. However, this exclusion does not apply
        to:
        (1) The exceptions contained in Subparagraphs d. or f.; or
        (2) Such inspections, adjustments, tests or servicing as the vendor has
            agreed to make or normally undertakes to make in the usual course of
            business, in connection with the distribution or sale of the products.

 C. With respect to the insurance afforded to these vendors, the following is added
    to Section III ---- Limits Of Insurance:
    If coverage provided to the vendor is required by a contract or agreement, the
    most we will pay on behalf of the vendor is the amount of insurance:

    1. Required by the contract or agreement; or



                                         11
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 12 of 45




    2. Available under the applicable Limits of Insurance shown in the
       Declarations;

    whichever is less.

     This endorsement shall not increase the applicable Limits of Insurance shown
     in the Declarations.
                                       ***
 36.     The NW Primary Policies are, in part, subject to the following exclusions:

        2. Exclusions

             This insurance does not apply to:

        a.       Expected Or Intended Injury
                 “Bodily injury” or “property damage” expected or intended from the
                 standpoint of the insured. This exclusion does not apply to “bodily
                 injury” resulting from the use of reasonable force to protect persons
                 or property.
        b.        Contractual Liability
                 "Bodily injury" or "property damage" for which the insured is
                 obligated to pay damages by reason of the assumption of liability in
                 a contract or agreement. This exclusion does not apply to liability
                 for damages:
                 (1) That the insured would have in the absence of the contract or
                 agreement; or
                 (2) Assumed in a contract or agreement that is an "insured contract",
                 provided the "bodily injury" or "property damage" occurs
                 subsequent to the execution of the contract or agreement. Solely for
                 the purposes of liability assumed in an "insured contract",
                 reasonable attorneys’ fees and necessary litigation expenses
                 incurred by or for a party other than an insured are deemed to be
                 damages because of "bodily injury" or "property damage", provided:
                      (a) Liability to such party for, or for the cost of, that party’s
                      defense has also been assumed in the same "insured contract";
                      and
                      (b) Such attorneys’ fees and litigation expenses are for defense
                      of that party against a civil or alternative dispute resolution
                      proceeding in which damages to which this insurance applies are
                      alleged.
                                          ***
        k.       Damage To Your Product
                 “Property damage” to “your product” arising out of it or any party
                 of it.
                                          ***


                                           12
       Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 13 of 45




               m.        Damage To Impaired Property Or Property Not Physically
                         Injured

                         "Property damage" to "impaired property" or property that has not
                         been physically injured, arising out of:
                                 (1) A defect, deficiency, inadequacy or dangerous condition
                                 in "your product" or "your work"; or
                                 (2) A delay or failure by you or anyone acting on your behalf
                                 to perform a contract or agreement in accordance with its
                                 terms.
                                                  ***
               n.         Recall Of Products, Work Or Impaired Property
                           Damages claimed for any loss, cost, or expense incurred by you or
                           others for the loss of use, withdrawal, recall, inspection, repair,
                           replacement, adjustment, removal or disposal of:
                               (1) “Your product”;
                               (2) “Your work”; or
                               (3) “Impaired property”;

                          If such product, work, or property is withdrawn or recalled from
                          the market or from use by any person or organization because of a
                          known or suspected defect, deficiency, inadequacy or dangerous
                          condition in it.
                                   ***
III.    NATIONWIDE UMBRELLA POLICIES

        37.    Nationwide issued a commercial umbrella liability policy to Smitty’s, bearing

policy number CU126853A, effective April 30, 2014 to April 30, 2015, which is subject to a

$2,000,000 Each Occurrence limit, and a $2,000,000 Aggregate (“14-15 NW Umbrella Policy”).

A true and correct copy of the 14-15 NW Umbrella Policy with premium information redacted is

attached as Exhibit I.

        38.    Nationwide issued a commercial umbrella liability policy to Smitty’s, bearing

policy number CU126853A, effective April 30, 2015 to April 30, 2016, which is subject to a

$2,000,000 Each Occurrence limit, and a $2,000,000 Aggregate (“15-16 NW Umbrella Policy”).

A true and correct copy of the 15-16 NW Umbrella Policy with premium information redacted is

attached as Exhibit J.



                                                  13
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 14 of 45




       39.     Nationwide issued a commercial umbrella liability policy to Smitty’s, bearing

policy number CU126853A, effective April 30, 2016 to April 30, 2017, which is subject to a

$2,000,000 Each Occurrence limit, and a $2,000,000 Aggregate (“16-17 NW Umbrella Policy”).

A true and correct copy of the 16-17 NW Umbrella Policy with premium information redacted is

attached as Exhibit K.

       40.     Nationwide issued a commercial umbrella liability policy to Smitty’s, bearing

policy number CU126853A, effective April 30, 2017 to April 30, 2018, which is subject to a

$2,000,000 Each Occurrence limit, and a $2,000,000 Aggregate (“17-18 NW Umbrella Policy”).

A true and correct copy of the 17-18 NW Umbrella Policy with premium information redacted is

attached as Exhibit L. The 14-18 NW Umbrella Policies are collectively referred to herein as “NW

Umbrella Policies.”

       41.     Upon information and belief, the parties hereto do not dispute that Nationwide owes

no obligation to Smitty’s and Tractor Supply under the “bodily injury” and “personal and

advertising injury” coverages of the NW Umbrella Policies.

       42.     The “property damage” liability coverage afforded under NW Umbrella Policies

provide, in part, as follows:

               SECTION I – COVERAGES

               COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
               LIABILITY

               1. Insuring Agreement

               We will pay on behalf of the insured the "ultimate net loss" in excess of the
               "retained limit" because of "bodily injury" or "property damage" to which
               this insurance applies. We will have the right and duty to defend the insured
               against any "suit" seeking damages for such "bodily injury" or "property
               damage" when the "underlying insurance" does not provide coverage or the
               limits of "underlying insurance" have been exhausted. We will have the
               right to defend, or to participate in the defense of, the insured against any



                                                14
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 15 of 45




                other "suit" seeking damages to which this insurance may apply. At our
                discretion, we may investigate any "occurrence" that may involve this
                insurance and settle any resultant claim or "suit" for which we have the duty
                to defend.

       43.      The NW Umbrella Policies further provide as follows:
                                                   ***
                c. This insurance applies to "bodily injury" and "property damage" only if:

                   (1) The "bodily injury" or "property damage" is caused by an
                       "occurrence" that takes place in the "coverage territory";
                   (2) The "bodily injury" or "property damage" occurs during the policy
                       period; and
                   (3) Prior to the policy period, no insured listed under Paragraph 1.a. of
                       Section II – Who Is An Insured and no "employee" authorized by
                       you to give or receive notice of an "occurrence" or claim, knew that
                       the "bodily injury" or "property damage" had occurred, in whole or
                       in part. If such a listed insured or authorized "employee" knew, prior
                       to the policy period, that the "bodily injury" or "property damage"
                       occurred, then any continuation, change or resumption of such
                       "bodily injury" or "property damage" during or after the policy
                       period will be deemed to have been known prior to the policy period.
                d. "Bodily injury" or "property damage" which occurs during the policy
                   period and was not, prior to the policy period, known to have occurred
                   by any insured listed under Paragraph 1.a. of Section II – Who Is An
                   Insured or any "employee" authorized by you to give or receive notice
                   of an "occurrence" or claim, includes any continuation, change or
                   resumption of that "bodily injury" or "property damage" after the end of
                   the policy period.
                                                   ***

       44.      The NW Umbrella Policies are subject to a “Who Is An Insured” provision that

provides, in part, as follows:

                SECTION II – WHO IS AN INSURED

                                                ***

             3. Any additional insured under any policy of "underlying insurance" will
                automatically be an insured under this insurance.

                Subject to Section III – Limits Of Insurance, if coverage provided to the
                additional insured is required by a contract or agreement, the most we will
                pay on behalf of the additional insured is the amount of insurance:


                                                 15
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 16 of 45




          a. Required by the contract or agreement, less any amounts payable by any
             "underlying insurance"; or
          b. Available under the applicable Limits of Insurance shown in the
             Declarations;

          whichever is less.

 45.      The NW Umbrella Policies are subject to the following definitions:
       SECTION V - DEFINITIONS
                                            ***
       8. "Impaired property" means tangible property, other than "your product" or
           "your work", that cannot be used or is less useful because:
           a. It incorporates "your product" or "your work" that is known or thought
              to be defective, deficient, inadequate or dangerous; or
           b. You have failed to fulfill the terms of a contract or agreement;
              if such property can be restored to use by the repair, replacement,
              adjustment or removal of "your product" or "your work", or your
              fulfilling the terms of the contract or agreement.

       13. "Occurrence" means an accident, including continuous or repeated exposure to
           substantially the same general harmful conditions.

                                           ***
       18. "Property damage" means:
           a. Physical injury to tangible property, including all resulting loss of use
              of that property. All such loss of use shall be deemed to occur at the
              time of the physical injury that caused it; or
           b. Loss of use of tangible property that is not physically injured. All such
              loss of use shall be deemed to occur at the time of the "occurrence" that
              caused it.

       19. "Retained limit" means the available limits of "underlying insurance"
           scheduled in the Declarations or the "self-insured retention", whichever
           applies.
                                            ***
       23. "Ultimate net loss" means the total sum, after reduction for recoveries or
           salvages collectible, that the insured becomes legally obligated to pay as
           damages by reason of settlement or judgments or any arbitration or other
           alternate dispute method entered into with our consent or the "underlying
           insurer's" consent.

       24. “Underlying insurance” means any policies of insurance listed in the
           Declarations under the Schedule of “underlying insurance.”
                                         ***
       27. “Your product”:


                                           16
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 17 of 45




       a. Means:
           (1) Any goods or products, other than real property, manufactured, sold,
           handled, distributed or disposed of by:
               (a) You;
               (b) Others trading under your name; or
               (c) A person or organization whose business or assets you have
                   acquired; and
           (2) Containers (other than vehicles), materials, parts or equipment
               furnished in connection with such goods or products.
       b. Includes:
           (1) Warranties or representations made at any time with respect to the
               fitness, quality, durability, performance or use of "your product";
               and
           (2) The providing of or failure to provide warnings or instructions.
       c. Does not include vending machines or other property rented to or
           located for the use of others but not sold.

                                 ***
 46.   By endorsement, the NW Umbrella Policies define “insured contract” as follows:

       “Insured contract” means
                                      ***
       g. That part of any other contract or agreement pertaining to your business
          (including an indemnification of a municipality in connection with work
          performed for a municipality) under which you assume the tort liability
          of another party to pay for “bodily injury” or “property damage” to a
          third person or organization, provided the “bodily injury” or “property
          damage” is caused, in whole or in part, by you or by those acting on
          your behalf. Tort liability means a liability that would be imposed by
          law in the absence of any contract or agreement.
                                      ***
 47.   The NW Umbrella Policies are subject to the following exclusions:

       2. Exclusions

       This insurance does not apply to:

       a. Expected Or Intended Injury

          "Bodily injury" or "property damage" expected or intended from the
          standpoint of the insured. This exclusion does not apply to "bodily
          injury" resulting from the use of reasonable force to protect persons or
          property.




                                        17
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 18 of 45




       b. Contractual Liability

          "Bodily injury" or "property damage" for which the insured is obligated
          to pay damages by reason of the assumption of liability in a contract or
          agreement. This exclusion does not apply to liability for damages:

          (1) That the insured would have in the absence of the contract or
              agreement; or
          (2) Assumed in a contract or agreement that is an "insured contract",
              provided the "bodily injury" or "property damage" occurs
              subsequent to the execution of the contract or agreement.
              Solely for the purposes of liability assumed in an "insured contract",
              reasonable attorneys' fees and necessary litigation expenses incurred
              by or for a party other than an insured are deemed to be damages
              because of "bodily injury" or "property damage", provided:
              (a) Liability to such party for, or for the cost of, that party's defense
                  has also been assumed in the same "insured contract"; and
              (b) Such attorneys' fees and litigation expenses are for defense of
                  that party against a civil or alternative dispute resolution
                  proceeding in which damages to which this insurance applies are
                  alleged.
                                       ***
       n. Damage To Your Product

          "Property damage" to "your product" arising out of it or any part of it.
                                    ***
       p. Damage To Impaired Property Or Property

          Not Physically Injured "Property damage" to "impaired property" or
          property that has not been physically injured, arising out of:

          (1) A defect, deficiency, inadequacy or dangerous condition in "your
              product" or "your work"; or
          (2) A delay or failure by you or anyone acting on your behalf to perform
              a contract or agreement in accordance with its terms.
          This exclusion does not apply to the loss of use of other property arising
          out of sudden and accidental physical injury to "your product" or "your
          work" after it has been put to its intended use.

       q. Recall Of Products, Work Or Impaired Property

          Damages claimed for any loss, cost or expense incurred by you or others
          for the loss of use, withdrawal, recall, inspection, repair, replacement,
          adjustment, removal or disposal of:
          (1) "Your product";
          (2) "Your work"; or



                                         18
       Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 19 of 45




                     (3) "Impaired property";

                     if such product, work, or property is withdrawn or recalled from the
                     market or from use by any person or organization because of a known
                     or suspected defect, deficiency, inadequacy or dangerous condition in
                     it.

III.    TENDER AND MEDIATION

        48.      Subject to a complete reservation of rights, Nationwide agreed to defend Smitty’s

and Tractor Supply against the Hornbeck Action.

        49.      On June 26, 2019, the parties participated in a mediation with respect to the

Hornbeck Action.

        50.      Nationwide agreed it would not object to the insureds entering into an agreement;

however, it did not concede coverage defenses and reserved all rights, including but not limited,

its rights relating to funding the agreement and allocation between potentially covered and

uncovered damages.

IV.     HORNBECK SETTLEMENT

        51.      On or around July 30, 2010, the Underlying Plaintiffs and Smitty’s and Tractor

Supply agreed to settle the Hornbeck Action for $1,700,000 (“Settlement Agreement” or

“Hornbeck Settlement”). See Settlement Agreement attached hereto as Exhibit M.

        52.      The Settlement Agreement purports to resolve the following claims:
              36. Release. Plaintiffs, individually, on behalf of the Members of the Settlement
                  Class, and on behalf of Plaintiffs' respective partners, agents,
                  representatives, heirs, executors, personal representatives, successors, and
                  assigns (the "Releasing Parties"), hereby release and forever discharge
                  Defendants, together with their respective past, present, and future officers,
                  employees, agents, representatives, distributors, downstream retail
                  customers and/or resellers, attorneys, accountants, insurers, predecessors,
                  successors, assigns, legal representatives, parent companies, subsidiaries
                  and affiliates from any and all claims, causes of action, suits, obligations,
                  debts, demands, agreements, promises, liabilities, damages, losses,
                  controversies, costs, expenses, and attorneys' fees of any nature whatsoever,


                                                   19
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 20 of 45




                that are asserted, or could have been asserted in this case, arising out of or
                relating to the purchase of Super Trac 303 Tractor Hydraulic Fluid in
                Missouri during the Class Period. As of the Effective Date, the Releasing
                Parties shall be deemed to have, and by operation of the Final Approval
                Order shall have, fully, finally and forever released, relinquished, and
                discharged all Released Claims against the Released Parties pursuant to the
                terms of this Settlement Agreement. The Parties agree that other retailers
                who cooperate in providing Settlement Class Member purchaser and
                purchase information shall be specifically named as Released Parties in the
                proposed Final Approval Order.

       53.      The Settlement Agreement defines “Settlement Class,” in part, as “all persons and

other entities who purchases Super Trac 303 Tractor Hydraulic Fluid in Missouri at any point in

time from May 25, 2013 to present, excluding those who purchased for resale.”

       54.      As to distribution of the $1,700,000, Paragraph 28 of the Settlement Agreement

provides, in part, as follows:

             28. Class Settlement Fund. Defendants shall cause to be paid One Million
                 Seven Hundred Thousand Dollars ($1,700,000.00) pursuant to Section
                 VII.B hereof to settle the Action and obtain the release set forth in Section
                 VI hereof. That amount shall establish a settlement fund (the "Class
                 Settlement Fund") from which shall be paid (a) claims of Settlement Class
                 Members, (b) all settlement administration and notice costs, (c) all
                 incentive awards to Class Representatives as Ordered by the Court, and (d)
                 all attorneys' fees and expenses of Class Counsel as Ordered by the Court.
                 No amount of the Class Settlement Fund shall revert to Defendants. The
                 portion remaining in the Class Settlement Fund after payment of all
                 settlement administration/notice costs, Class Representative incentive
                 awards as Ordered by the Court, and Class Counsel's attorneys'
                 fees/expenses as Ordered by the Court shall be distributed to Qualified
                 Settlement Class Members as follows:

                a. Automatic Relief: 50% of this remaining portion of the Class Settlement Fund
                   shall be used to provide each Qualified Settlement Class Member automatic
                   damages calculated as a percentage of the purchase price of his/her/its Super S
                   Super Trac 303 Tractor Hydraulic Fluid purchases during the Class Period.
                   Each Qualified Settlement Class Member shall be paid the settlement
                   distribution amount for each unit of Super Trac 303 purchased by the Qualified
                   Settlement Class Member during the Class Period and not returned. This is to
                   compensate for the property damage generally sustained. The initial settlement
                   distribution amount for each unit of Super Trac 303 is estimated to be an
                   amount equal to 50% of that unit's estimated average sale price during the class


                                                    20
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 21 of 45




           period: $12 for each 5-gallon bucket purchased; $4 for each 1-gallon jug
           purchased; $6 for each 2-gallon jug purchased; and $90 for each 55-gallon
           drum purchased. If the total amount of valid claims for automatic relief exceeds
           the amount in this fund, awards will be decreased on a pro rata basis. Any
           unclaimed monies after payment of Qualified Settlement Class Members'
           automatic relief shall go into the Repair/Parts/Specific Damage Fund described
           in (b), below.

       b. Repairs/Parts/Specific Damage Claim Fund Relief: 50% of this remaining
          portion of the Class Settlement Fund, plus any remaining monies after payment
          of Qualified Settlement Class Members' automatic relief as set forth in a. above,
          shall be used to pay claims submitted by Qualified Settlement Class Members
          for the costs of any equipment repairs, parts purchases, and/or specific damage
          to equipment that resulted from, in whole or in part, the use of Super Trac 303
          during the class period. The Repairs/Parts/Specific Damage Claims Fund is
          being established to reimburse Qualified Settlement Class Members for
          equipment repairs, parts purchases and/or specific equipment damage that
          resulted from, in whole or in part, the use of Super Trac 303 in said equipment
          during the Class Period. Such repairs, parts purchases, and/or equipment
          damage may relate to, without limitation, damage to seals, pumps, filters, gears,
          and clutch and brake systems, power take-off (PTO) systems and/or losses
          incurred as a result of equipment being damaged beyond reasonable repair
          which occurred as a result of damage and increased or excessive wear resulting
          from use of Super Trac 303. Such increased wear and damage may include,
          without limitation, scratching, corrosive wear, rippling, ridging, pitting, spalling
          and scoring of the gears and metal components, seal damage, spiral gear
          damage, metal abrasion, corrosion, surface wear, clutch wear and breakage,
          wet brake damage, pump failure, leakage, and damage from deposits, sludging
          and thickening. Claims for such repair/parts/specific damage shall require
          submission of the Claim Form along with receipts or other paperwork (if
          available) related to losses, repairs and/or parts, and with the Qualified
          Settlement Class Member's statement, under penalty of perjury, that said
          equipment repairs, parts purchases and/or specific equipment damage or losses
          resulted from, in whole or in part, the use of Super Trac 303 during the class
          period. If the total amount of said losses, repairs and/or parts purchases
          submitted in valid claims by Qualified Settlement Class Members exceeds the
          amount in this fund, plus the amount of unclaimed a. funds, awards will be
          decreased on a pro rata basis. If monies are remaining in this
          Repairs/Part/Specific Damage Fund after all valid claims are paid, those
          remaining funds shall be added to the automatic relief distribution and shared
          pro rata by all Qualified Settlement Class Members based on the same
          automatic relief distribution formula set forth in a. above.

       c. NOTE: Plaintiffs allege that this monetary relief is required because property
          damage has been suffered by each and every purchaser of the Super S Super
          Trac 303 THF product. That damage has occurred to the equipment in which


                                            21
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 22 of 45




                    the Super S Super Trac 303 THF was used even if the owner has not yet had to
                    pay for repair parts or service.
                                                     ***

        55.     In accordance with the terms of the Settlement Agreement, the $1,700,000 was

deposited in a Class Settlement Fund and allocated as follows:

                (1) $100,000 for Settlement Administration and Notice Costs;
                (2) $20,000 for Incentive Awards;
                (3) $150,000 for Class Counsel’s Expenses;
                (4) $511,500 for Class Counsel’s Attorneys’ Fees;
                (5) $128,666 under Paragraph 28(a) - Automatic Relief; and
                (6) $789,834 under Paragraph 28(b) -Repairs/Parts/Specific Damage Claim Fund
                    Relief.

        56.     Subject to a complete reservation of rights, Nationwide paid $80,000 of the

Settlement Administration and Notice Costs due under the Hornbeck Settlement.

        57.     Upon information and belief, AIG paid the remaining $20,000 of the Settlement

Administration and Notice Costs due under the Hornbeck Settlement.

        58.     Upon information and belief, Smitty’s paid the remaining $1,600,000 due under the

Hornbeck Settlement.

        59.     Upon information and belief, Smitty’s seek reimbursement of some or all of the

$1,600,000 it paid with respect to the Hornbeck Settlement.

                                       COUNT I
                               DECLARATORY RELIEF
                  Nationwide Does Not Owe Any Obligation to Indemnify
        the Defendants under NW Primary Policies for Any Portion of the Settlement
                That Does Not Seek Damages Because of “Property Damage”

        60.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.




                                                  22
     Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 23 of 45




       61.     The “property damage” liability coverage of the NW Primary Policies provides that

Nationwide will pay those sums that the insured becomes legally obligated to pay as damages

because of “property damage.”

       62.     The NW Primary Policies define “property damage” as follows:
               17.   "Property damage" means:
                  a. Physical injury to tangible property, including all resulting loss of
                      use of that property. All such loss of use shall be deemed to occur
                      at the time of the physical injury that caused it; or
                  b. Loss of use of tangible property that is not physically injured. All
                      such loss of use shall be deemed to occur at the time of the
                      "occurrence" that caused it.
                                          ***
       63.     Damages arising from reimbursement to consumers for a product that failed to meet

its specifications do not qualify as “property damage”.

       64.     Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

for any portion of the Hornbeck Settlement that does not constitute damages because of “property

damage,” including but not limited to:

               a)    any portions attributable to Count VI -Unjust Enrichment;
               b)    the $128,666 paid under Paragraph 28(a) - Automatic Relief;
               c)    the $20,000 allocated for payment of Incentive Awards;
               d)    any sums that do not constitute damages to third party property caused by the
                     use of the 303 THF Product.

       65.     Smitty’s and Tractor Supply have failed to sustain their burden of demonstrating

which portions of the Hornbeck Settlement, if any, constitute damages because of “property

damage.”

       66.     Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s or

Tractor Supply for the Hornbeck Settlement under the NW Primary Policies.




                                                 23
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 24 of 45




                                        COUNT II
                               DECLARATORY RELIEF
  Nationwide Does Not Owe Any Obligation to Indemnify the Defendants Under the NW
 Primary Policies for Any Portion of the Settlement That Does Not Seek Damages Caused
                                  by an “Occurrence”

        67.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        68.     The “property damage” liability coverage of the NW Primary Policies only provide

coverage for damages because of “property damage” caused by an “occurrence.”

        69.     The NW Primary Policies define “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.”

        70.     The alleged damages in the Hornbeck Action were not caused by an accident.

        71.     Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

for any portion of the Hornbeck Settlement that does not constitute damages because of “property

damage” caused by an “occurrence,” including but not limited to:

                a)   any portions attributable to Count I – Violation of MMPA;
                b)   any portions attributable to Count IV – Fraudulent Misrepresentation;
                c)   any portions attributable to Count V – Negligent Misrepresentation;
                d)   any portions attributable to Count VI – Unjust Enrichment;
                e)   any damages attributable to the Defendants’ intentional conduct;
                f)   the $661,500 allocated for payment of Class Counsel’s Expenses and
                     Attorney’s Fees.

        72.     Smitty’s and Tractor Supply have failed to sustain their burden of demonstrating

which portions of the Hornbeck Settlement, if any, constitute damages because of “property

damage” caused by an “occurrence.”

        73.     Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s or

Tractor Supply for the Hornbeck Settlement under the NW Primary Policies.




                                               24
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 25 of 45




                                      COUNT III
                              DECLARATORY RELIEF
Nationwide Does Not Owe Any Obligation to Indemnify the Defendants for Any Portion of
the Settlement That Does Not Seek Damage Because of “Property Damage” That Occurred
                  During the Policy Periods of the NW Primary Policies

        74.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        75.     The “property damage” liability coverage of the NW Primary Policies only

provides coverage for damages because of “property damage” that occurs during the policy period

of the NW Primary Policies.

        76.     The Hornbeck Settlement purports to resolve all claims that could have been

asserted in the Hornbeck Action, arising out of or relating to the purchase of Super Trac 303

Tractor Hydraulic Fluid in Missouri at any point in time from May 25, 2013 to present, excluding

those who purchased for resale.”

        77.     Smitty’s and Tractor Supply have failed to sustain their burden of demonstrating

which portions of the Hornbeck Settlement, if any, constitute damages because of “property

damage” that occurred during the policy period of the NW Primary Policies.

        78.     Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s or

Tractor Supply for the Hornbeck Settlement under the NW Primary Policies.

                                        COUNT IV
                                 DECLARATORY RELIEF
         Alternatively, the Prior Knowledge Provisions Apply to Preclude Coverage
                            Under the 18-20 NW Primary Policies

        79.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        80.     The NW Primary Policies are, in part, subject to the following provisions:




                                                25
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 26 of 45




             (3) Prior to the policy period, no insured listed under Paragraph 1. of Section II
                 ---- Who Is An Insured and no "employee" authorized by you to give or
                 receive notice of an "occurrence" or claim, knew that the "bodily injury" or
                 "property damage" had occurred, in whole or in part. If such a listed insured
                 or authorized "employee" knew, prior to the policy period, that the "bodily
                 injury" or "property damage" occurred, then any continuation, change or
                 resumption of such "bodily injury" or "property damage" during or after the
                 policy period will be deemed to have been known prior to the policy period.

       c. "Bodily injury" or "property damage" which occurs during the policy period
          and was not, prior to the policy period, known to have occurred by any insured
          listed under Paragraph 1. of Section II ---- Who Is An Insured or any
          "employee" authorized by you to give or receive notice of an "occurrence" or
          claim, includes any continuation, change or resumption of that "bodily injury"
          or "property damage" after the end of the policy period.

       d. "Bodily injury" or "property damage" will be deemed to have been known to
           have occurred at the earliest time when any insured listed under Paragraph 1. of
           Section II ---- Who Is An Insured or any "employee" authorized by you to give
           or receive notice of an "occurrence" or claim:

                (1) Reports all, or any part, of the "bodily injury" or "property damage" to
                    us or any other insurer;
                (2) Receives a written or verbal demand or claim for damages because of
                    the "bodily injury" or "property damage"; or
                (3) Becomes aware by any other means that "bodily injury" or "property
                    damage" has occurred or has begun to occur.

                                                 ***

       81.      In October 2017, the MDA announced that it performed testing on the 303 THF

Products, which revealed that the products were underperforming to the point damage was likely

to result from use.

       82.      On October 12, 2017, the MDA issued a letter to Smitty’s with regard to Super S

Super Trac 303 THF in which Smitty’s was ordered to remove the product from sale until changes

are made to correct the labeling or the product.

       83.      In November 2017, the MDA issued a stop sale banning the sale of 303 THF

Products in the State of Missouri.




                                                   26
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 27 of 45




        84.     Smitty’s and Tractor Supply knew of the complained of “property damage” prior

to the inception of the 18-20 NW Primary Policies.

        85.     Accordingly, Nationwide owes no obligation to indemnify Smitty’s or Tractor

Supply for the Hornbeck Settlement under the 18-20 NW Primary Policies.

                                      COUNT V
                              DECLARATORY RELIEF
    Alternatively, Nationwide Does Not Owe Any Obligation to the Defendants for the
  Settlement Under the NW Primary Policies Based on the Doctrines of Fortuity, Loss In
                               Progress and Known Risk

        86.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        87.     The fortuity doctrine combines the principles of known risk and “loss in progress”

and holds that insurance coverage is precluded where the insured is aware of an ongoing

progressive or known risk at the time the policy is purchased.

        88.     Smitty’s knew that the 303 Products were defective and that such would result in

“property damage” to consumers prior to the inception of the Smitty’s Primary Policies.

        89.     In October 2017, the MDA announced that it performed testing on the 303 THF

Products, which revealed that the products were underperforming to the point damage was likely

to result from use.

        90.     On October 12, 2017, the MDA issued a letter to Smitty’s with regard to Super S

Super Trac 303 THF in which Smitty’s was ordered to remove the product from sale until changes

are made to correct the labeling or the product.

        91.     In November 2017, the MDA issued a stop sale banning the sale of 303 THF

Products in the State of Missouri.




                                                   27
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 28 of 45




        92.     Smitty’s and Tractor Supply knew that the 303 THF Product was defective prior to

the inception of the 18-20 NW Primary Policies.

        93.     Accordingly, Nationwide owes no obligation to indemnify Smitty’s or Tractor

Supply for the Hornbeck Settlement under the NW Primary Policies.

                                        COUNT VI
                               DECLARATORY RELIEF
   Alternatively, The Your Product Exclusion Applies to Preclude Coverage Under NW
 Primary Policies for Any Portion of the Settlement Attributable to the Reimbursement of
                           the Cost of the Defendants’ Product

        94.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        95.     The NW Primary Policies are subject to an exclusion that provides, in part, as

follows (“Your Product Exclusion”):

                2. Exclusions

                   This insurance does not apply to:
                                               ***
                        k. Damage To Your Product

                                “Property damage” to “your product” arising out of it or any
                                party of it.
                                              ***

        96.     The Your Product Exclusion, in part, precludes coverage for the reimbursement or

replacement of the insured’s defective product.

        97.     In accordance with the terms of the Settlement Agreement, $128,666 of the

Settlement Fund was paid under Paragraph 28(a) - Automatic Relief of the Settlement Agreement.

        98.     Paragraph 28(a) - Automatic Relief provides for the reimbursement of a percentage

of each Qualified Settlement Class Member’s purchase price of the Super S Super Trac 303 Tractor

Hydraulic Fluid.


                                                  28
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 29 of 45




        99.     Even if the $128,666 constituted damages because of “property damage,” the Your

Product Exclusion would nonetheless apply to preclude coverage for the same.

        100.    Nationwide has no obligation to indemnify Smitty’s or Tractor Supply under the

NW Primary Policies for the $128,666 distributed under Paragraph 28(a) – Automatic Relief of

the Settlement Agreement or any other portion of the Hornbeck Settlement that compensates the

Underlying Plaintiffs for the reimbursement or replacement of the complained of 303 THF

Product.

                                       COUNT VII
                               DECLARATORY RELIEF
 Alternatively, the Impaired Property Exclusion Applies to Preclude Coverage Under NW
 Primary Policies for Any Portion of the Settlement Attributable to the Reimbursement of
                           the Cost of the Defendants’ Product

        101.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        102.    The NW Primary Policies are subject to an exclusion that provides, in part, as

follows (“Impaired Property Exclusion”):

                2. Exclusions

                  This insurance does not apply to:

                                               ***

                        m.      Damage To Impaired Property Or Property Not
                                Physically Injured

                                "Property damage" to "impaired property" or property that
                                has not been physically injured, arising out of:
                                    (1) A defect, deficiency, inadequacy or dangerous
                                        condition in "your product" or "your work"; or
                                    (2) A delay or failure by you or anyone acting on your
                                        behalf to perform a contract or agreement in
                                        accordance with its terms.

                                               ***


                                                 29
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 30 of 45




        103.    The Impaired Property Exclusion, in part, precludes coverage for the

reimbursement or replacement of the insured’s defective product.

        104.    In accordance with the terms of the Settlement Agreement, $128,666 of the

Settlement Fund was paid under Paragraph 28(a) - Automatic Relief of the Settlement Agreement.

        105.    Paragraph 28(a) - Automatic Relief provides for the reimbursement of a percentage

of each Qualified Settlement Class Member’s purchase price of the Super S Super Trac 303 Tractor

Hydraulic Fluid.

        106.    Even if the $128,666 constituted damages because of “property damage,” the

Impaired Property Exclusion would nonetheless apply to preclude coverage for the same.

        107.    Accordingly, Nationwide has no obligation to indemnify Smitty’s or Tractor

Supply under the NW Primary Policies for the $128,666 distributed under Paragraph 28(a) –

Automatic Relief of the Settlement Agreement or any other portion of the Hornbeck Settlement

that compensates the Underlying Plaintiffs for the reimbursement or replacement of the

complained of 303 THF Product.

                                       COUNT VIII
                               DECLARATORY RELIEF
   Alternatively, the Product Recall Exclusion Applies to Preclude Coverage Under NW
 Primary Policies for Any Portion of the Settlement Attributable to the Reimbursement of
                           the Cost of the Defendants’ Product

        108.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        109.    The NW Primary Policies are subject to an exclusion that provides, in part, as

follows (“Product Recall Exclusion”):

                2. Exclusions

                   This insurance does not apply to:


                                                 30
     Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 31 of 45




                                               ***

                   n.   Recall Of Products, Work Or Impaired Property
                         Damages claimed for any loss, cost, or expense incurred by you or
                         others for the loss of use, withdrawal, recall, inspection, repair,
                         replacement, adjustment, removal or disposal of:
                             (4) “Your product”;
                             (5) “Your work”; or
                             (6) “Impaired property”;
                         If such product, work, or property is withdrawn or recalled from
                         the market or from use by any person or organization because of a
                         known or suspected defect, deficiency, inadequacy or dangerous
                         condition in it.
                                            ***
       110.    The Product Recall Exclusion, in part, precludes coverage for the reimbursement

or replacement of the insured’s defective product.

       111.    In accordance with the terms of the Settlement Agreement, $128,666 of the

Settlement Fund was paid under Paragraph 28(a) - Automatic Relief of the Settlement Agreement.

       112.    Paragraph 28(a) - Automatic Relief provides for the reimbursement of a percentage

of each Qualified Settlement Class Member’s purchase price of the Super S Super Trac 303 Tractor

Hydraulic Fluid.

       113.    Even if the $128,666 constituted damages because of “property damage,” the

Product Recall Exclusion would nonetheless apply to preclude coverage for the same.

       114.    Nationwide has no obligation to indemnify Smitty’s or Tractor Supply under the

NW Primary Policies for the $128,666 distributed under Paragraph 28(a) – Automatic Relief of

the Settlement Agreement or any other portion of the Hornbeck Settlement that compensates the

Underlying Plaintiffs for the reimbursement or replacement of the complained of 303 THF

Product.




                                                 31
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 32 of 45




                                        COUNT IX
                                DECLARATORY RELIEF
     Alternatively, the Expected or Intended Injury Exclusion Also Applies to Preclude
                   Coverage For Smitty’s Under the NW Primary Policies

        115.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        116.    The NW Primary Policies are subject to the following exclusion:

                2. Exclusions

                     This insurance does not apply to:

                a.       Expected Or Intended Injury
                         “Bodily injury” or “property damage” expected or intended from the
                         standpoint of the insured. This exclusion does not apply to “bodily
                         injury” resulting from the use of reasonable force to protect persons
                         or property.

        117.    Prior to inception of each NW Primary Policy, Smitty’s knew that the 303 THF

Products were defective and that such would result in “property damage” to consumers.

        118.    Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s for

the Hornbeck Settlement under the NW Primary Policies.

                                        COUNT X
                                 DECLARATORY RELIEF
           Alternatively, the Hornbeck Action only involved a single “occurrence”

        119.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        120.    Even if the Hornbeck Settlement involves damages, because of “property damage”

caused by an “occurrence,” the Hornbeck Settlement only involves a single “occurrence” and only

implicates one “occurrence” limit.




                                                   32
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 33 of 45




        121.    The NW Primary Policies define “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.”

        122.    The NW Primary Policies state as follows:

                SECTION III --- - LIMITS OF INSURANCE

                1. The Limits of Insurance shown in the Declarations and the rules below
                   fix the most we will pay regardless of the number of:
                   a. Insureds;
                   b. Claims made or "suits" brought; or
                   c. Persons or organizations making claims or bringing "suits".
                2. The General Aggregate Limit is the most we will pay for the sum of:
                   a. Medical expenses under Coverage C;
                   b. Damages under Coverage A, except damages because of "bodily
                       injury" or "property damage" included in the "products-completed
                       operations hazard"; and
                   c. Damages under Coverage B.
                3. The Products-Completed Operations Aggregate Limit is the most we
                   will pay under Coverage A for damages because of "bodily injury" and
                   "property damage" included in the "products-completed operations
                   hazard".
                                               ***
                5. Subject to Paragraph 2. or 3. above, whichever applies, the Each
                   Occurrence Limit is the most we will pay for the sum of:
                   a. Damages under Coverage A; and
                   b. Medical expenses under Coverage C because of all "bodily injury"
                       and "property damage" arising out of any one "occurrence".

        123.    All of the complained of damage was allegedly caused by Smitty’s production of

defective tractor hydraulic fluid.

        124.    Accordingly, the Hornbeck Action only involved a single “occurrence.”

                                      COUNT XI
                             DECLARATORY RELIEF
   Tractor Supply Does Not Qualify as an Insured or Additional Insured Under the NW
                                   Primary Policies

        125.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.




                                               33
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 34 of 45




       126.    The NW Primary Policies are subject to a “Who Is An Insured” Provision that

provides, in part as follows:

               SECTION II ---- WHO IS AN INSURED

               1. If you are designated in the Declarations as:

                                             ***
                      d. An organization other than a partnership, joint venture or limited
                         liability company, you are an insured. Your "executive officers"
                         and directors are insureds, but only with respect to their duties
                         as your officers or directors. Your stockholders are also
                         insureds, but only with respect to their liability as stockholders.
                                             ***
       127.    Upon information and belief, Tractor Supply is not an “executive officer,” director

or stockholder of Smitty’s.

       128.    Tractor Supply does not qualify as an insured under the “Who Is An Insured

Provision.

       129.    The 13-15 NW Primary Policies are not subject to any provision or endorsement

under which Tractor Supply would qualify as an insured.

       130.    Nationwide has no obligation to indemnify Tractor Supply under the 13-15 NW

Primary Policies on the basis that Tractor Supply does not qualify as an insured under the 13-15

NW Primary Policies.

       131.    The 16-20 NW Primary Policies are subject to an AI-Vendors Endorsement that

provides, in part, as follows:

                                            ***
       This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                        SCHEDULE
          Name of         Additional Insured Your Products
          Person(s)      Or     Organization(s)
          (Vendor)


                                                34
     Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 35 of 45




          Any person(s) or organization(s) with       ALL PRODUCTS
           whom "you" have agreed in a valid
          written contract or written agreement,
             executed prior to loss, that such
          person(s) or organization(s) be added
           as an additional insured on "your"
              policy, as provided under this
                       endorsement.

         Information required to complete this Schedule, if not shown above, will be
         shown in the Declarations.

       A. Section II ---- Who Is An Insured is amended to include as an additional insured
           any person(s) or organization(s) (referred to throughout this endorsement as
           vendor) shown in the Schedule, but only with respect to "bodily injury" or
           "property damage" arising out of "your products" shown in the Schedule which
           are distributed or sold in the regular course of the vendor’s business.

       However:

          1. The insurance afforded to such vendor only applies to the extent permitted
             by law; and
          2. If coverage provided to the vendor is required by a contract or agreement,
             the insurance afforded to such vendor will not be broader than that which
             you are required by the contract or agreement to provide for such vendor.

       B. With respect to the insurance afforded to these vendors, the following additional
          exclusions apply:

          1. The insurance afforded the vendor does not apply to:
                                             ***
            h. “Bodily injury” or “property damage” arising out of the sole negligence
               of the vendor for its own acts or omissions or those of its employees or
               anyone else acting on its behalf . . .

                                            ***
       132.   Upon information and belief, Smitty’s and Tractor Supply may have entered into a

written agreement.

       133.   It is not clear from the face of the agreement whether such was executed prior to

the loss complained of in the Hornbeck Action.




                                                 35
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 36 of 45




        134.    Tractor Supply does not qualify as an additional insured under the AI-Vendors

Endorsement for its sole negligence.

        135.    Nationwide owes no obligation to indemnify Tractor Supply under the NW Primary

Policies because Tractor Supply does not qualify as an insured.

                                      COUNT XII
                              DECLARATORY RELIEF
 The Contractual Liability Exclusion Applies to Preclude Coverage For Any Contractual
             Indemnity That May be Owed By Smitty’s to Tractor Supply

        136.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        137.    The NW Primary Policies are subject to the following exclusion:

                b.      Contractual Liability

                        "Bodily injury" or "property damage" for which the insured is
                        obligated to pay damages by reason of the assumption of liability in
                        a contract or agreement. This exclusion does not apply to liability
                        for damages:
                        (1) That the insured would have in the absence of the contract or
                            agreement; or
                        (2) Assumed in a contract or agreement that is an "insured contract",
                            provided the "bodily injury" or "property damage" occurs
                            subsequent to the execution of the contract or agreement. Solely
                            for the purposes of liability assumed in an "insured contract",
                            reasonable attorneys’ fees and necessary litigation expenses
                            incurred by or for a party other than an insured are deemed to be
                            damages because of "bodily injury" or "property damage",
                            provided:
                            (a) Liability to such party for, or for the cost of, that party’s
                                defense has also been assumed in the same "insured
                                contract"; and
                            (b) Such attorneys’ fees and litigation expenses are for defense
                                of that party against a civil or alternative dispute resolution
                                proceeding in which damages to which this insurance applies
                                are alleged.
                                                 ***




                                                  36
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 37 of 45




        138.     Assuming a valid contract exists between Smitty’s and Tractor Supply, the

Contractual Liability Exclusion would apply to preclude coverage for any Contractual Indemnity

that Smitty’s may owe to Tractor Supply under the NW Primary Policies.

                                     COUNT XIII
                              DECLARATORY RELIEF
         The NW Umbrella Policies Are Not Implicated by the Hornbeck Settlement

        139.     Nationwide incorporates and restates the allegations of paragraphs 1 through 59

above as if fully set forth herein.

        140.     Coverage under the NW Umbrella Policies only applies to “ultimate net loss” in

excess of the “retained limit” because of “property damage” caused by an “occurrence” during the

policy period.

        141.     “Retained limit” is defined to include the available limits of “underlying insurance”

scheduled in the Declarations.

        142.     The 14-18 NW Primary Policies each constitute “underlying insurance” for the NW

Umbrella Policy that possesses the same policy period.

        143.     The limits of the 14-18 NW Primary Policies have not been exhausted, and thus,

coverage under the NW Umbrella Policies is not implicated by the Hornbeck Settlement.

        144.     Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

for the Hornbeck Settlement under the NW Umbrella Policies.




                                                  37
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 38 of 45




                                     COUNT XIV
                              DECLARATORY RELIEF
  Alternatively, Nationwide Does Not Owe Any Obligation to Indemnify the Defendants
  Under the NW Umbrella Policies for Any Portion of the Settlement That Does Not Seek
   Damages Because of “Property Damage” Caused by an “Occurrence” During Policy
                                       Period

        145.     Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        146.     Coverage under the NW Umbrella Policies only applies to “ultimate net loss” in

excess of the “retained limit” because of “property damage” caused by an “occurrence” during the

policy period.

        147.     The NW Umbrella Policies define “property damage” and “occurrence,” in part, as

follows:

                 13. "Occurrence" means an accident, including continuous or repeated
                     exposure to substantially the same general harmful conditions.

                                                 ***
                 18. "Property damage" means:
                     a. Physical injury to tangible property, including all resulting loss of
                        use of that property. All such loss of use shall be deemed to occur at
                        the time of the physical injury that caused it; or
                     b. Loss of use of tangible property that is not physically injured. All
                        such loss of use shall be deemed to occur at the time of the
                        "occurrence" that caused it.

                                                 ***

        148.     The Hornbeck Settlement purports to resolve all claims that could have been

asserted in the Hornbeck Action, arising out of or relating to the purchase of Super Trac 303

Tractor Hydraulic Fluid in Missouri at any point in time from May 25, 2013 to present, excluding

those who purchased for resale.




                                                  38
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 39 of 45




       149.   Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

any portion of the Hornbeck Settlement that does not constitute damages because of “property

damage,” including but not limited to:

              a)   any portions attributable to Count VI -Unjust Enrichment;
              b)   the $128,666 paid under Paragraph 28(a) - Automatic Relief;
              c)   the $20,000 allocated for payment of Incentive Awards;
              d)   any sums that do not constitute damages to third party property caused by the
                   use of the 303 THF Product.

       150.   Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

any portion of the Hornbeck Settlement that does not constitute damages because of “property

damage” caused by an “occurrence,” including but not limited to:

              a)   any portions attributable to Count I – Violation of MMPA;
              b)   any portions attributable to Count IV – Fraudulent Misrepresentation;
              c)   any portions attributable to Count V – Negligent Misrepresentation;
              d)   any portions attributable to Count VI – Unjust Enrichment;
              e)   any damages attributable to the Defendants’ intentional conduct;
              f)   the $661,500 allocated for payment of Class Counsel’s Expenses and
                   Attorney’s Fees.

       151.   Nationwide does not owe any obligation to indemnify Smitty’s or Tractor Supply

for any portion of the Hornbeck Settlement that does not serve as compensation for damages

because of “property damage” that occurred during the policy periods of the NW Umbrella

Policies.

       152.   Smitty’s and Tractor Supply have failed to sustain their burden of demonstrating

which portions of the Hornbeck Settlement, if any, constitute damages because of “property

damage” caused by an “occurrence” that occurred during the policy period of the NW Umbrella

Policies.

       153.   Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s or

Tractor Supply for the Hornbeck Settlement under the NW Umbrella Policies.




                                               39
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 40 of 45




                                      COUNT XV
                               DECLARATORY RELIEF
Alternatively, the Your Product, Impaired Property, and Product Recall Exclusions Apply
to Preclude Coverage Under the NW Umbrella Policies for Any Portion of the Settlement
        Attributable to the Reimbursement of the Cost of the Defendants’ Product

        154.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        155.    The NW Umbrella Policies are subject to the following exclusions:

                2. Exclusions

                This insurance does not apply to:

                                         ***
                n. Damage To Your Product

                   "Property damage" to "your product" arising out of it or any part of it.
                                             ***
                p. Damage To Impaired Property Or Property

                    Not Physically Injured "Property damage" to "impaired property" or
                    property that has not been physically injured, arising out of:

                    (1) A defect, deficiency, inadequacy or dangerous condition in "your
                        product" or "your work"; or
                    (2) A delay or failure by you or anyone acting on your behalf to perform
                        a contract or agreement in accordance with its terms.
                    This exclusion does not apply to the loss of use of other property arising
                    out of sudden and accidental physical injury to "your product" or "your
                    work" after it has been put to its intended use.

                q. Recall Of Products, Work Or Impaired Property

                    Damages claimed for any loss, cost or expense incurred by you or others
                    for the loss of use, withdrawal, recall, inspection, repair, replacement,
                    adjustment, removal or disposal of:
                    (1) "Your product";
                    (2) "Your work"; or
                    (3) "Impaired property";

                    if such product, work, or property is withdrawn or recalled from the
                    market or from use by any person or organization because of a known



                                                 40
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 41 of 45




                    or suspected defect, deficiency, inadequacy or dangerous condition in
                    it.
                                                ***

        156.    The Your Product, Impaired Property and Product Recall Exclusions each preclude

coverage for the reimbursement or replacement of the insured’s defective product.

        157.    In accordance with the terms of the Settlement Agreement, $128,666 of the

Settlement Fund was paid under Paragraph 28(a) - Automatic Relief of the Settlement Agreement.

        158.    Paragraph 28(a) - Automatic Relief provides for the reimbursement of a percentage

of each Qualified Settlement Class Member’s purchase price of the Super S Super Trac 303 Tractor

Hydraulic Fluid.

        159.    Even if the $128,666 paid under Paragraph 28(a) - Automatic Relief constituted

damages because of “property damage,” the Your Product Exclusion would nonetheless apply to

preclude coverage for the same.

        160.    Nationwide has no obligation to indemnify Smitty’s or Tractor Supply under the

NW Umbrella Policies for the $128,666 distributed under Paragraph 28(a) – Automatic Relief of

the Settlement Agreement or any other portion of the Hornbeck Settlement that compensates the

Underlying Plaintiffs for the reimbursement or replacement of the complained of 303 THF

Product.

                                        COUNT XVI
                                DECLARATORY RELIEF
     Alternatively, the Expected or Intended Injury Exclusion Also Applies to Preclude
                  Coverage For Smitty’s Under the NW Umbrella Policies

        161.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        162.    The NW Umbrella Policies are subject to the following exclusion:




                                                41
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 42 of 45




                2. Exclusions

                This insurance does not apply to:

                a. Expected Or Intended Injury

                    "Bodily injury" or "property damage" expected or intended from the
                    standpoint of the insured. This exclusion does not apply to "bodily
                    injury" resulting from the use of reasonable force to protect persons or
                    property.
                                                ***

        163.    Prior to inception of each NW Umbrella Policy, Smitty’s knew that the 303 THF

Products were defective and that such would result in “property damage” to consumers.

        164.    Accordingly, Nationwide does not owe any obligation to indemnify Smitty’s for

the Hornbeck Settlement under the NW Umbrella Policies.

                                     COUNT XVII
                               DECLARATORY RELIEF
      Tractor Supply Does Not Qualify as an Insured Under the NW Umbrella Policies

        165.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        166.    Tractor Supply is not listed as a named insured on the NW Umbrella Policies.

        167.    The NW Umbrella Policies are subject to a “Who Is An Insured” provision that

provides, in part, as follows:

                SECTION II – WHO IS AN INSURED

                                              ***
                3. Any additional insured under any policy of "underlying insurance" will
                   automatically be an insured under this insurance.

                    Subject to Section III – Limits Of Insurance, if coverage provided to
                    the additional insured is required by a contract or agreement, the most
                    we will pay on behalf of the additional insured is the amount of
                    insurance:




                                                 42
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 43 of 45




                    a. Required by the contract or agreement, less any amounts payable by
                       any "underlying insurance"; or
                    b. Available under the applicable Limits of Insurance shown in the
                       Declarations;

                    whichever is less.
                                                 ***

        168.    Tractor Supply does not qualify as an insured under the 14-18 NW Primary Policies

and thus, does not qualify as an insured under the NW Umbrella Policies.

        169.    Nationwide does not owe any obligation to indemnify Tractor Supply under the

NW Umbrella Policies because it does not qualify as an insured.

                                    COUNT XVIII
                              DECLARATORY RELIEF
    The Contractual Liability Exclusion Applies to Preclude Coverage Under the NW
   Umbrella Policies For Any Contractual Indemnity That May be Owed By Smitty’s to
                                    Tractor Supply

        170.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        171.    The NW Umbrella Policies are subject to the following exclusion:

                b. Contractual Liability
                "Bodily injury" or "property damage" for which the insured is obligated to
                pay damages by reason of the assumption of liability in a contract or
                agreement. This exclusion does not apply to liability for damages:

                (1) That the insured would have in the absence of the contract or agreement;
                    or
                (2) Assumed in a contract or agreement that is an "insured contract",
                    provided the "bodily injury" or "property damage" occurs subsequent to
                    the execution of the contract or agreement.
                    Solely for the purposes of liability assumed in an "insured contract",
                    reasonable attorneys' fees and necessary litigation expenses incurred by
                    or for a party other than an insured are deemed to be damages because
                    of "bodily injury" or "property damage", provided:
                    (a) Liability to such party for, or for the cost of, that party's defense has
                        also been assumed in the same "insured contract"; and




                                                   43
      Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 44 of 45




                   (b) Such attorneys' fees and litigation expenses are for defense of that
                       party against a civil or alternative dispute resolution proceeding in
                       which damages to which this insurance applies are alleged.
                                                ***
        172.    Assuming a valid contract exists between Smitty’s and Tractor Supply, the

Contractual Liability Exclusion would apply to preclude coverage for any Contractual Indemnity

that Smitty’s may owe to Tractor Supply under the NW Umbrella Policies.

                                       COUNT XV
  Alternatively, No Duty to Indemnify the Defendants is Owed Under the 14-18 Umbrella
        Policies Based on Doctrines of Fortuity, Loss In Progress and Known Risk

        173.    Nationwide incorporates and restates the allegations of paragraph 1 through 59

above as if fully set forth herein.

        174.    The fortuity doctrine combines the principals of known risk and “loss in progress”

and holds that insurance coverage is precluded where the insured is aware of an ongoing

progressive or known risk at the time the policy is purchased.

        175.    Upon information and belief, Smitty’s knew that the 303 Products were defective

and that such would result in “property damage” to consumers prior to the inception of the NW

Umbrella Policies.

        176.    Nationwide owes no obligation to indemnify the Defendants under the 14-18 NW

Umbrella Policies.

        WHEREFORE, Plaintiff NATIONWIDE AGRIBUSINESS INSURANCE COMPANY,

requests that this Honorable Court enter an order in its favor and against the Defendants as follows:

        a.      Declaration that Nationwide does not owe any obligation to indemnify Smitty’s and

                Tractor Supply for the Hornbeck Settlement under the NW Primary Policies.

        b.      Declaration that Nationwide does not owe any obligation to indemnify Smitty’s and

                Tractor Supply for the Hornbeck Settlement under the NW Umbrella Policies.


                                                 44
Case 2:20-cv-02890-SSV-MBN Document 1 Filed 10/22/20 Page 45 of 45




 c.    Alternatively, a declaration as to what portions of the Hornbeck Settlement

       Nationwide is required to indemnify Smitty’s or Tractor Supply for.

 d.    Awarding Nationwide such other and further relief as this Court deems just.



                                     Respectfully submitted,

                                     PHELPS DUNBAR LLP



                                     BY:     /s/ Jay Russell Sever
                                            Jay Russell Sever (Bar #23935)
                                            Canal Place | 365 Canal Street, Suite 2000
                                            New Orleans, Louisiana 70130-6534
                                            Telephone: 504-566-1311
                                            Telecopier: 504-568-9130
                                            jay.sever@phelps.com



                                     ATTORNEYS FOR NATIONWIDE
                                     AGRIBUSINESS INSURANCE COMPANY




                                       45
